        Case 19-11792-pmm                      Doc      Filed 04/01/21 Entered 04/01/21 14:22:56                              Desc Main
 Fill in this information to identify the case:         Document      Page 1 of 8
 Debtor 1          Troy  D. Conver
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern
                                         __________ District of Pennsylvania
                                                                __________

 Case number           19-11792-pmm
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST  BANK
                   _______________________________________                                                      3
                                                                                    Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                             Date of payment change:
 identify the debtor’s account:                          5 ____
                                                        ____ 3 ____
                                                                 0 ____
                                                                     7              Must be at least 21 days after date       5/1/2021
                                                                                                                              _____________
                                                                                    of this notice


                                                                                    New total payment:                               1116.46
                                                                                                                              $ ____________
                                                                                    Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                     364.33
                   Current escrow payment: $ _______________                      New escrow payment:                   384.23
                                                                                                              $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:       _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                            page 1
      Case 19-11792-pmm                              Doc          Filed 04/01/21 Entered 04/01/21 14:22:56                           Desc Main
                                                                  Document      Page 2 of 8

Debtor 1         Troy  D. Conver
                 _______________________________________________________                       Case number         19-11792-pmm
                                                                                                             (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û   _____________________________________________________________
     Signature
                                                                                               Date     03/29/2021
                                                                                                        ___________________




 Print:             Janet  M. Spears
                    _________________________________________________________                  Title   Authorized  Agent for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Aldridge  Pite, LLP
                    _________________________________________________________



 Address            4375 Jutland Dr Suite 200; P.O. Box 17933
                    _________________________________________________________
                    Number                 Street

                    San  Diego                       CA     92177
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      (858) 750-7600
                    ________________________                                                         jspears@aldridgepite.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
                                                         REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 4
                 Midland Mortgage
       Case 19-11792-pmm
                 P.O. Box 26648 Doc             Filed 04/01/21 Entered 04/01/21 14:22:56                        Desc Main
                                                 Document
                       Oklahoma City, OK 73126-0648           Page 3 of 8
                                                                                        Loan number:
                                                                                        1197 CONESTOGA BLVD
                                                                                          CONESTOGA PA 17516
                                                                                       Date Reviewed: 02/23/2021
                                                                           Next Escrow Cycle: May 2021 - Apr 2022


     TROY D CONVER
     1197 CONESTOGA BOULEVAR
     CONESTOGA PA 17516




                                           Escrow Account Statement
Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                   pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
this
                   your loan documents. This statement shows how those expenses affect the amount of your monthly
statement?         mortgage payment.
Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

What do I          Please review your escrow statement below and then decide which of the options presented in
need to do         "Paying the Shortage" section is best for you. The last page of this statement includes helpful
                   answers to common escrow questions.
next?
Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                   currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
Notices
                   from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                   obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                   Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                   an attempt to collect a debt, and any information obtained will be used for that purpose.

                   Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                   Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                   that purpose.



New Monthly Mortgage Payment
The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
has changed. Because of this, your mortgage payment has changed to $1,116.46 beginning with the 5/1/2021
mortgage payment. See the "Paying the Shortage" section for information about making a one-time payment to lower
your new monthly mortgage payment amount.

Monthly Payment                                Old Payment                       New Payment                          Change
Principal & Interest                           $732.23                           $732.23                              None
Escrow Deposit                                 $364.33                           $366.87                              Increase
Escrow Shortage or Surplus                     $0.00                             $17.36                               Increase
Total Monthly Mortgage Payment                 $1,096.56                         $1,116.46                            Increase



Escrow Bills and Escrow Payment
The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
last review and the new amounts we expect to pay from your escrow account between May 2021 and April 2022.

Escrow Bills                                   Old Amount                        New Amount                            Change
Homeowners Ins                                 $0.00                             $677.00                               Increase
Flood                                          $0.00                             $702.00                               Increase
MI Premiums                                    $0.00                             $1,134.24                             Increase
County Tax                                     $0.00                             $365.83                               Increase
School Distric                                 $0.00                             $1,523.43                             Increase
Annual Total                                   $0.00                             $4,402.50                             Increase
                                                                                                                                         Page     2 of 4
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Required Minimum Balance
The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
documents, federal and/or state law. The new required minimum balance in your escrow account is $544.70

                               Your lowest expected escrow balance:                                                                            $336.34
                               Your required minimum balance                                                                                   $544.70
                               The difference creates a shortage in your escrow account of:                                                   -$208.36
Because the lowest expected escrow balance is less than the required minimum balance, there is a shortage of -$208.36 in your
escrow account. This shortage is illustrated in the table below, and can be found by calculating the difference in the
bolded numbers in the Anticipated Balance and Required Balance columns.


Expected Escrow Account Transactions
The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
account reviewed to avoid a large shortage or surplus in the future.

                           EXPECTED PAYMENTS           EXPECTED PAYMENTS                                              ANTICIPATED            REQUIRED
    MONTH-YEAR                 TO ESCROW                  FROM ESCROW                 DESCRIPTION                        BALANCE              BALANCE
                                                                                      Starting Balance                   $1,059.97            $1,268.33
     May-21                    $366.87                         -$94.52                MI PREMIUMS                        $1,332.32            $1,540.68
     Jun-21                    $366.87                         -$94.52                MI PREMIUMS                        $1,604.67            $1,813.03
     Jul-21                    $366.87                         -$94.52                MI PREMIUMS                        $1,877.02            $2,085.38
     Aug-21                    $366.87                         -$94.52                MI PREMIUMS                        $2,149.37            $2,357.73
     Aug-21                    $0.00                           -$1,523.43             SCHOOL DISTRICT                      $625.94             $834.30
     Sep-21                    $366.87                         -$94.52                MI PREMIUMS                          $898.29            $1,106.65
     Oct-21                    $366.87                         -$677.00               HAZARD                               $588.16             $796.52
     Oct-21                    $0.00                           -$94.52                MI PREMIUMS                          $493.64             $702.00
     Nov-21                    $366.87                         -$94.52                MI PREMIUMS                          $765.99             $974.35
     Dec-21                    $366.87                         -$702.00               FLOOD                                $430.86             $639.22
     Dec-21                    $0.00                           -$94.52                MI PREMIUMS                          $336.34             $544.70
     Jan-22                    $366.87                         -$94.52                MI PREMIUMS                          $608.69             $817.05
     Feb-22                    $366.87                         -$94.52                MI PREMIUMS                          $881.04            $1,089.40
     Mar-22                    $366.87                         -$94.52                MI PREMIUMS                        $1,153.39            $1,361.75
     Apr-22                    $366.87                         -$94.52                MI PREMIUMS                        $1,425.74            $1,634.10
     Apr-22                    $0.00                           -$365.83               COUNTY TAX                         $1,059.91            $1,268.27
     Total                     $4,402.44                       -$4,402.50


Escrow Account History
This chart shows the estimated and actual activity in your escrow account from 5/1/2020 through 4/1/2021. If the servicing of your
loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
chart below.

                  PAYMENTS TO                                        PAYMENTS FROM                                                     ESCROW
                    ESCROW                                              ESCROW                                                         BALANCE
 MONTH-
              Estimated        Actual        Estimated          Description            Actual             Description         Estimated           Actual
  YEAR
                                                                                                Starting Balance                     $0.00       -$3,760.87
 May-20            $0.00           $0.00           $0.00                                 -$96.69         MI PREMIUMS*                $0.00       -$3,857.56
 Jun-20            $0.00           $0.00           $0.00                                 -$96.69         MI PREMIUMS*                $0.00       -$3,954.25
  Jul-20           $0.00           $0.00           $0.00                                 -$96.69         MI PREMIUMS*                $0.00       -$4,050.94
  Jul-20           $0.00           $0.00           $0.00                              -$1,523.43      SCHOOL DISTRICT                $0.00       -$5,574.37
 Aug-20            $0.00           $0.00           $0.00                                 -$96.69         MI PREMIUMS*                $0.00       -$5,671.06
 Sep-20            $0.00           $0.00           $0.00                                 -$96.69         MI PREMIUMS*                $0.00       -$5,767.75
 Oct-20            $0.00           $0.00           $0.00                               -$677.00            HAZARD*                   $0.00       -$6,444.75
 Oct-20            $0.00           $0.00           $0.00                                 -$96.69         MI PREMIUMS                 $0.00       -$6,541.44
 Nov-20            $0.00           $0.00           $0.00                                 -$96.69         MI PREMIUMS*                $0.00       -$6,638.13
 Nov-20            $0.00           $0.00           $0.00                               -$702.00              FLOOD                   $0.00       -$7,340.13
 Dec-20            $0.00           $0.00           $0.00                                 -$94.52         MI PREMIUMS*                $0.00       -$7,434.65
 Jan-21            $0.00           $0.00           $0.00                                 -$94.52         MI PREMIUMS*                $0.00       -$7,529.17
 Feb-21            $0.00           $0.00           $0.00                                 -$94.52         MI PREMIUMS*                $0.00       -$7,623.69
 Mar-21            $0.00           $0.00           $0.00                                   $0.00                                     $0.00       -$7,623.69
 Apr-21            $0.00           $0.00           $0.00                                   $0.00                                     $0.00       -$7,623.69
   Total           $0.00           $0.00           $0.00                              -$3,862.82

* The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
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      Paying the Shortage
      There is a shortage in your escrow account. You can pay your escrow shortage in one lump sum or you can pay it over
      the next 12 months with your monthly mortgage payment. There are no additional fees or interest if you choose to pay the
      shortage amount over the next 12 months.




                                                                                                                5/1/2021


                                                                              Pay the escrow shortage of $208.36 in
         Pay the escrow shortage of $208.36 by adding                         one payment.
         $17.36 to your next 12 monthly payments.
                                                                              Once paid in full, your monthly payment
                                                                              will be adjusted to $1,099.10 with the 5/1/2021
         This amount is automatically included in                             mortgage payment.
         your new monthly payment of $1,116.46
         beginning 5/1/2021.                                                  To choose this option, please detach
                                                                              and return the coupon provided below
         No action is required by you for this                                to the address on the coupon along with
         option.                                                              payment for the escrow shortage.


          If the shortage is paid in full as described in Option 2, your new monthly payment will be
                $1,099.10. This is the lowest your monthly payment amount can be at this time.



                             What if I have enrolled in an Automatic Payment Plan?
          •   If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
          •   If you use an automatic payment program other than Midland’s, please contact your payment administrator
              and ask them to update your payment to the new amount.




                                                  Worried About Payments?
          If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
          8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

          You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.




                               Please review the reverse side of this statement for
                                 helpful answers to common escrow questions.
                         DO NOT MAIL THIS SHORTAGE COUPON WITH YOUR MONTHLY PAYMENT.

                                                                         LOAN NUMBER:
                           Midland Mortgage                              CUSTOMER NAME:                             TROY D CONVER
                           P.O. Box 26648                                PROPERTY ADDRESS:                    1197 CONESTOGA BLVD
                           Oklahoma City, OK 73126-0648
                                                                                                               CONESTOGA PA 17516



Choose one option for repayment of your escrow shortage:                              Total escrow shortage: $208.36
   (1) No action required: The escrow shortage will be included in your
       monthly payment automatically. Your new monthly payment of                  Midland Mortgage - Payment Processing
       $1,116.46 will begin 5/1/2021. You do not need to return this coupon for    PO Box 269074
       this option.                                                                Oklahoma City OK 73126-9074

   (2) Repay the escrow shortage in full. Send a check for $208.36 along
       with this coupon to the address on the right. Your monthly mortgage
       payment will be adjusted to $1,099.10 per month, effective with the
       5/1/2021 mortgage payment, upon receipt of the full shortage.



                                                       INTERNET REPRINT
                                                                                                       Page   4 of 4
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Frequently Asked Escrow Account Questions
Q1 What is an escrow account?
  Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
  includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
  your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
  With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
  documents every month instead of once or twice a year.

Q2 Why did Midland change my monthly mortgage payment amount?
  Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
  mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
  mortgage payment are usually because of changes in your taxes or insurance.
      Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
      rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
      taxing authority if you have questions about changes to your property taxes.
      Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
      your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
      your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
      You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
      insurance bills and your options.

Q3 How often will my escrow payment change?
  Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
  we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
  more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
  insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

Q4 What are my payment options if I have a shortage in my escrow balance?
  You can either pay the shortage in full by sending us payment for the full shortage amount, or we will automatically
  spread the shortage amount over the next 12 months and include it in your new monthly mortgage payment.

Q5 Will my automatic payments change to cover my new payment amount?
  If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
  amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
  payment administrator and ask them to update your payment to the new amount.

Q6 What should I do if I think my escrow bills are wrong?
  You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
  has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
  taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

Q7 What are my options if my payment increased and I can’t afford a higher mortgage
   payment?
  If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
  us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




Visit www.MyMidlandMortgage.com/Escrow for additional
helpful answers to frequently asked escrow questions or
             contact us at 1-800-654-4566.
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      ALDRIDGE PITE, LLP
      4375 Jutland Drive, Suite 200
      P.O. Box 17933
      San Diego, CA 92177-0933
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                 UNITED STATES BANKRUPTCY COURT

                        EASTERN DISTRICT OF PENNSYLVANIA (READING)
      In re                                           Case No. 19-11792-pmm
      TROY D. CONVER,                                 Chapter 13

                       Debtor(s).                     PROOF OF SERVICE


              I, Lucia Levitt, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: 4375 Jutland Drive, Suite

     200, P.O. Box 17933, San Diego, CA 92177-0933. I am over the age of eighteen years and not a
     party to this case.

              On April 1, 2021, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

              I declare under penalty of perjury that the foregoing is true.



                                                     /s/Lucia Levitt
                                                     LUCIA LEVITT




                                                      -1-
     PROOF OF SERVICE
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                                       SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Troy D. Conver
     1197 Conestoga Blvd.
     Conestoga, PA 17516




     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     BRENNA HOPE MENDELSOHN
     Mendelsohn & Mendelsohn, PC

     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     Scott F. Waterman (Chapter 13)
     ROLANDO RAMOS-CARDONA



     U.S. TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




                                             -2-
     PROOF OF SERVICE
